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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY
                            TRENTON VICINAGE

   ASSOCIATION OF NEW JERSEY RIFLE
   & PISTOL CLUBS, INC., BLAKE                    HON. PETER G. SHERIDAN
   ELLMAN, and MARC WEINBERG,

        Plaintiffs,                                     Civil Action No.
                                                         3:18-cv-10507
   v.

   MATTHEW PLATKIN, in his official
   capacity as Attorney General of New Jersey,
   PATRICK J. CALLAHAN, in his official
   capacity as Superintendent of the New
   Jersey Division of State Police,
   RYAN MCNAMEE, in his official capacity
   as Chief of Police of the Chester Police
   Department, and
   JOSEPH MADDEN, in his official capacity
   as Chief of Police of the Park Ridge Police
   Department,

        Defendants.


   MARK CHEESEMAN, TIMOTHY
   CONNELLY, and FIREARMS                           HON. RENEE M. BUMB
   POLICY COALITION, INC.,

        Plaintiffs,                                     Civil Action No.
                                                         1:22-cv-4360
   v.

   MATTHEW J. PLATKIN, in his
   official capacity as Acting Attorney
   General of New Jersey, PATRICK J.
   CALLAHAN, in his official capacity
   as Superintendent of the New Jersey
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   State Police, CHRISTINE A.
   HOFFMAN, in her official capacity as
   Acting Gloucester County Prosecutor,
   and BRADLEY D. BILLHIMER, in
   his official capacity as Ocean County
   Prosecutor,

        Defendants.


   BLAKE ELLMAN, THOMAS R.
   ROGERS, and ASSOCIATION OF
   NEW JERSEY RIFLE & PISTOL                       HON. FREDA L. WOLFSON
   CLUBS, INC.,

        Plaintiffs,                                     Civil Action No.
                                                         3:22-cv-04397
   v.

   MATTHEW J. PLATKIN, in his
   official capacity as Attorney
   General of New Jersey, PATRICK J.
   CALLAHAN, in his official capacity
   as Superintendent of the New Jersey
   Division of State Police, LT. RYAN
   MCNAMEE, in his official capacity as
   Officer in Charge of the Chester Police
   Department, and KENNETH BROWN, JR.,
   in his official capacity as Chief of the Wall
   Township Police Department,

        Defendants.




          BRIEF IN SUPPORT OF STATE DEFENDANTS’ MOTION FOR
                            CONSOLIDATION
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                           PRELIMINARY STATEMENT

        Pursuant to Federal Rule of Civil Procedure Rule 42(a) and Local Civil Rule

  42.1, Defendants Attorney General Matthew J. Platkin and Superintendent Patrick

  J. Callahan (hereinafter, “the State”) seek an order consolidating three actions that

  challenge the constitutionality of New Jersey’s statutory scheme for regulating

  dangerous weapons and munitions capable of inflicting a broad amount of damage.1

  In Association of New Jersey Rifle and Pistol Clubs, Inc., et al. v. Attorney General

  New Jersey, et al., No. 18-cv-10507, Plaintiffs ask this Court to enjoin enforcement

  of New Jersey’s regulation of large capacity magazines (“LCMs”)2 and declare it

  unconstitutional under the Second, Fifth, and Fourteenth Amendments.                In

  Cheeseman, et al. v. Platkin, et al., No. 22-cv-4360, and Ellman, et al. v. Platkin, et

  al., No. 22-cv-4397, Plaintiffs seek the same relief as to New Jersey’s law regulating

  assault firearms 3 pursuant to the Second and Fourteenth Amendments.

        These three actions challenge components of New Jersey’s legal framework

  for regulating dangerous weapons capable of inflicting a broad amount of damage.

  Modern-day mass shootings and other shooting attacks frequently involve the use of

  assault firearms equipped with LCMs, as the combination increases the number of

  bullets that perpetrators can shoot within a given timeframe. New Jersey’s LCM and


  1
    Plaintiffs’ counsel has not consented to this motion.
  2
    N.J. Stat. Ann. §§ 2C:39-1(y), 2C:39-3(j), and 2C:39-12.
  3
    N.J. Stat. Ann. §§ 2C:39-1(w), 2C:39-5, 2C:39-9, and 2C:58-5.
                                             1
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  assault weapons restrictions were originally enacted together in 1990 as part of a

  single statutory response aimed at reducing fatalities and injuries from such attacks.

  Moreover, Defendants will rely on largely the same experts in all three suits to

  demonstrate that the State’s regulation of LCMs and assault firearms is “consistent

  with this Nation’s historical tradition of firearm regulation.” See New York State

  Rifle & Pistol Ass’n, Inc. v. Bruen, 142 S. Ct. 2111, 2126 (2022).

        As such, not only do myriad common questions of fact and law exist, but

  allowing the cases to proceed separately would waste judicial resources and present

  the potential for inconsistent adjudications of common factual and legal issues. All

  three cases are in a similar procedural posture, and there are overlapping plaintiffs,

  counsel, and defendants. Defendants therefore seek an order consolidating

  Cheeseman and Ellman into the instant action, which bears the earlier docket

  number, for all pretrial and trial purposes.

           STATEMENT OF FACTS AND PROCEDURAL HISTORY 4

        All three cases challenge New Jersey’s law regulating dangerous weapons and

  munitions capable of inflicting significant injuries and fatalities. In 1990, the New

  Jersey Legislature enacted a statute restricting the manufacture, sale, or possession

  of assault firearms and large capacity ammunition magazines. See Ch. 32, 1990 N.J.



  4
   Because they are closely related, the Procedural History and Statement of Facts are
  combined for the Court’s convenience.
                                            2
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   Laws 217; Senate Judiciary Committee Statement, S.166, 204th Leg. (N.J. Mar. 12,

   1990), Ex. A (“Pursuant to the provisions of the bill, manufacture, sale, or possession

   of assault firearms and large capacity ammunition magazines would be prohibited

   except for use by military or law enforcement authorities.”). 5 Recognizing the

   “wholesale destruction” that assault firearms equipped with LCMs could inflict, the

   State intended the bill to prevent “innocent people [from] be[ing] gunned down in

   vast numbers.” News Release, N.J. Governor’s Office, Florio Signs Nation’s

   Toughest Assault Weapon Law (May 30, 1990), Ex. B. At the time, LCMs were

   defined as a container “capable of holding more than 15 rounds of ammunition to be

   fed continuously and directly therefrom into a semi-automatic firearm.” Ch. 32, 1990

   N.J. Laws 217, 221; N.J. Stat. Ann. § 2C:39-1 (1991). In 2018, the New Jersey

   Legislature updated that definition to reduce the maximum number of allowable

   rounds from fifteen to ten. See N.J. Stat. Ann. §§ 2C:39-1(y) and 39-3(j).

         In ANJRPC, Plaintiffs Association of New Jersey Rifle and Pistol Clubs, Inc.,

   Blake Ellman, and Alexander Dembowski, represented by Daniel L. Schmutter, filed

   suit to enjoin enforcement of the State’s LCM law in 2018, alleging that it violates


   5
     The federal government took the same approach when it chose to regulate both
   assault weapons and LCMs in the Public Safety and Recreational Firearms Use
   Protection Act, which was passed as part of the Violent Crime Control and Law
   Enforcement Act of 1994. See Pub. L. No. 103-322, §§ 110102 (“restriction on
   manufacture, transfer, and possession of certain semi-automatic assault weapons”)
   and 110103 (“ban of large capacity ammunition feeding devices”), 108 Stat. 1996
   (1994). The Act expired in September 2004.
                                           3
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   the Second, Fifth, and Fourteenth Amendments. See Mot. for a Prelim. Inj., No.

   3:18-cv-10507 (D.N.J. June 21, 2018), ECF No. 7. This Court denied the requested

   relief, ANJRPC v. Grewal, No. 3:18-cv-10507, 2018 WL 4688345, at *1 (D.N.J.

   Sept. 28, 2018), and the Third Circuit affirmed, ANJRPC v. Attorney Gen. N.J., 910

   F.3d 106, 110 (3d Cir. 2018). The parties then filed cross-motions for summary

   judgment, and this Court granted the State’s motion and denied Plaintiffs’ motion.

   ANJRPC v. Grewal, No. 3:18-cv-10507, 2019 WL 3430101, at *3 (D.N.J. July 29,

   2019). On appeal, the Third Circuit again affirmed. ANJRPC v. Attorney Gen. N.J.,

   974 F.3d 237, 240 (3d Cir. 2020). On June 30, 2022, after the Supreme Court decided

   Bruen, the Court granted Plaintiffs’ petition for certiorari, vacated the Third Circuit’s

   judgment, and remanded the case for further consideration in light of its Bruen

   decision. ANJRPC v. Bruck, 142 S. Ct. 2894 (2022). The Third Circuit then

   remanded the matter for further development of the record. Order, No. 19-3142 (3d

   Cir. Aug. 25, 2022), ECF No. 147. Plaintiffs filed an amended complaint before this

   Court on October 28, 2022. Am. Compl., No. 3:18-cv-10507 (Oct. 28, 2022), ECF

   No. 122,6 and the State’s answer and proposed schedule for the development of

   evidence are due on November 18, 2022, ECF No. 121.




   6
     The Amended Complaint in ANJRPC dropped the equal protection claim included
   in Count III of the initial complaint. In addition, Plaintiff Marc Weinberg replaced
   Plaintiff Alexander Dembowski.
                                              4
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         In Ellman, Plaintiffs Association of New Jersey Rifle and Pistol Clubs, Inc.,

   Blake Ellman, and Thomas R. Rogers, represented by Daniel L. Schmutter, filed suit

   in July 2022 challenging the State’s regulation of assault firearms under the Second

   and Fourteenth Amendments. Compl., No. 3:22-cv-4397 (D.N.J. July 1, 2022), ECF

   No. 1. The State filed its answer to Plaintiffs’ complaint on November 15, 2022.

   ECF No. 15.

         In Cheeseman, Plaintiffs Mark Cheeseman, Timothy Connelly, and Firearms

   Policy Coalition, Inc., filed suit in July 2022 also challenging the State’s regulation

   of assault firearms under the Second and Fourteenth Amendments. Amended Compl.

   No. 1:22-cv-04360 (D.N.J. July 14, 2022), ECF No. 4. Plaintiffs are represented by

   Bradley Lehman. The district court recently set a discovery schedule and ordered

   initial disclosures to be filed by November 30, 2022. ECF No. 32.

         Plaintiffs in all three actions name as Defendants Matthew J. Platkin in his

   official capacity as Attorney General of New Jersey and Patrick J. Callahan as

   Superintendent of the New Jersey Division of State Police.7


   7
    In addition to the State defendants, the three actions also name as defendants
   several county or local officials in their official capacities. Plaintiffs in ANJRPC
   additionally name Ryan McNamee, Chief of the Chester Police Department, and
   Joseph Madden, Chief of the Park Ridge Police Department. Plaintiffs in Ellman
   additionally name Ryan McNamee, Chief of the Chester Police Department, and
   Kenneth Brown Jr., Chief of the Wall Township Police Department. Plaintiffs in
   Cheeseman additionally name Christine A. Hoffman, Acting Gloucester County
   Prosecutor, and Bradley D. Billhimer, Ocean County Prosecutor. The following
   co-defendants have consented to this motion: Ryan McNamee, Christine Hoffman,
                                               5
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          In short, ANJRPC, Cheeseman, and Ellman:

               • Challenge New Jersey statutes that concern dangerous weapons and
                 munitions capable of inflicting a broad amount of damage;

               • Have overlapping defendants, plaintiffs, and plaintiffs’ counsel;

               • Allege violations of the Plaintiffs’ Second and Fourteenth Amendment
                 rights;

               • Seek declaratory and injunctive relief;

               • Are in similar procedural postures, with operative complaints having
                 been filed recently and having just begun or are about to begin fact and
                 expert discovery.


                                       ARGUMENT

                  THESE CASES SHOULD BE CONSOLIDATED
                  BECAUSE   THEY   INVOLVE    MULTIPLE
                  COMMON QUESTIONS OF LAW AND FACT.

         The three cases should be consolidated. Fed. R. Civ. P. 42(a); L. Civ. R. 42.1

   (requiring such a motion to be filed “in the cases bearing the earliest docket

   number”). Rule 42(a) gives courts “broad power to consolidate cases that share

   common question[s] of law or fact.” A.S. ex rel. Miller v. SmithKline Beecham Corp.,

   769 F.3d 204, 212 (3d Cir. 2014) (alteration in original) (internal quotation marks

   omitted).     Consolidation “enabl[es] more efficient case management while




   and Bradley D. Billhimer. Christine Hoffman does not consent to venue in
   Trenton.
                                           6
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   preserving the distinct identities of the cases and the rights of the separate parties in

   them.” Hall v. Hall, 138 S. Ct. 1118, 1125 (2018). “Consolidation is appropriate in

   order to avoid unnecessary costs and/or delay, and to promote judicial economy.”

   Liberty Lincoln Mercury, Inc. v. Ford Mktg. Corp., 149 F.R.D. 65, 80-81 (D.N.J.

   1993) (internal citations omitted).

         In deciding whether to consolidate different actions, courts balance “[t]he

   savings of time and effort gained through consolidation … against the

   inconvenience, delay or expense that might result from simultaneous disposition of

   the separate actions.” Id. at 81. Rule 42 does not “require[] that pending suits be

   identical before they can be consolidated.” In re Lucent Techs. Inc. Sec. Litig., 221

   F. Supp. 2d 472, 480 (D.N.J. 2001). And “[i]n the absence of an articulated basis to

   assert confusion or prejudice, consolidation is generally appropriate.” A.F.I.K.

   Holding SPRL v. Fass, 216 F.R.D. 567, 570 (D.N.J. 2003).

         Consolidation is plainly appropriate in these three actions, where common

   parties raise the same constitutional challenge against common defendants regarding

   the same state laws, which concern dangerous weapons capable of inflicting a broad

   amount of damage. All three actions challenge New Jersey’s statutory scheme to

   address fatalities from dangerous weapons and all three sound in legal claims under




                                              7
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   the Second and Fourteenth Amendments.8 Plaintiffs in Ellman and Cheeseman

   challenge New Jersey’s ban on possessing assault firearms and Plaintiffs in ANJRPC

   challenge New Jersey’s restriction on possessing large capacity magazines. Under

   Bruen, the same legal inquiry governs all three cases: Plaintiffs bear the initial

   burden to show that the Second Amendment protects the regulated activity, and if

   so, the State must justify its regulations by demonstrating that they are consistent

   with the nation’s historical tradition of firearm regulation. Bruen, 142 S. Ct. at 2129-

   30.

            All three cases also involve the common questions of whether historical

   regulations of dangerous weapons and munitions existed and whether they are

   analogous to the State’s modern-day firearms regulations. The State intends to rely

   on largely the same fact and historical experts to answer these questions in all three

   cases.      Assault weapons and LCMs are interrelated and complementary

   technologies. Recognizing that both contribute to increased fatalities and injuries,

   New Jersey’s Legislature passed a law regulating both at the same time. See Ch. 32,

   1990 N.J. Laws 217.




   8
     Although plaintiffs in ANJRPC also raise a takings claim under the Fifth
   Amendment in their amended complaint, that does not foreclose consolidation. See
   Waste Distillation Tech., Inc. v. Pan Am. Res., Inc., 775 F. Supp. 759, 761 (D. Del.
   1991) (consolidating cases where “[t]he only appreciable difference between the two
   complaints is an additional claim for relief”).
                                              8
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         Notably, many of the assault weapons prohibited under the challenged statute

   are capable of accepting LCMs. 9 Semiautomatic weapons—including those defined

   as “assault firearms” under N.J. Stat. Ann. § 2C:39-1(w)—are often equipped with

   LCMs to increase the number of rounds a shooter can fire without needing to reload.

   See Kolbe v. Hogan, 849 F.3d 114, 137 (4th Cir. 2017) (“Large-capacity magazines

   enable a shooter to hit ‘multiple human targets very rapidly’; ‘contribute to the

   unique function of any assault weapon to deliver extraordinary firepower’; and are

   a ‘uniquely military feature[ ]’ of both the banned assault weapons and other firearms

   to which they may be attached.”) (alteration in original). Indeed, assault firearms

   equipped with LCMs have been used in some of the nation’s most fatal mass

   shootings in recent years, including those in Aurora, Sandy Hook, Newtown,

   Parkland, Orlando, Sutherland Springs, and Las Vegas.10 In other words, the two


   9
     LCMs are designed to feed ammunition “continuously and directly . . . into a
   semiautomatic firearm.” N.J. Stat. Ann. § 2C:39-1(y). New Jersey’s statutory
   definition of “assault firearm” includes numerous specified semiautomatic firearms,
   see N.J. Stat. Ann. § 2C:39-1(w)(1), firearms that are “substantially identical” to
   those listed firearms, N.J. Stat. Ann. § 2C:39-1(w)(2), as well as broader categories
   of semiautomatic firearms with certain features, see N.J. Stat. Ann. § 2C:39-1(w)(3)
   and (4). See also Guidelines Regarding the “Substantially Identical” Provision in
   the State’s Assault Firearms Laws, N.J. DIV. OF CRIM. JUST., (Aug. 19, 1996),
   https://nj.gov/lps/dcj/agguide/assltf.htm (“[A] semi-automatic firearm should be
   considered to be ‘substantially identical,’ that is, identical in all material respects, to
   a named assault weapon [in 2C:39-1(w)] if it meets the below listed criteria . . .”).
   10
      See What Are Assault Weapons and High-Capacity Magazines?, BRADY,
   https://www.bradyunited.org/fact-sheets/what-are-assault-weapons-and-high-
                                           9
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   technologies are interrelated in their functionality and use. As a result, historical

   restrictions on firearms analogous to the State’s LCM and assault firearm restrictions

   are likely to overlap. See Eastman Chem. Co. v. AlphaPet Inc., No. 09-cv-971, 2011

   WL 7121180, at *3 (D. Del. Dec. 29, 2011) (“This Court has frequently ordered

   consolidation where the technology at issue in the separate actions appeared to be

   similarly related.”).

         Given these common questions of law and fact, consolidation would promote

   judicial economy and avoid potentially inconsistent judgements. Because the State

   intends to present overlapping factual and expert evidence, consolidation would

   avoid the costs of issuing duplicative discovery requests, reduce burdens on fact and

   expert witnesses, and facilitate a more efficient and economic resolution of these

   related challenges. See Borough of Edgewater v. Waterside Constr., LLC, No. 14-

   cv-5060, 2017 WL 1758062, at *3 (D.N.J. May 3, 2017) (consolidating cases where

   “discovery in both cases will likely involve many of the same documents and

   witnesses”).




   capacity-magazines (last visited Nov. 8, 2022); National Law Enforcement
   Partnership to Prevent Gun Violence (NLEPPGV) 2010-2021: Partnership Report,
   NAT’L POLICE FOUND. 123-26 (July 2021), https://www.policinginstitute.org/wp-
   content/uploads/2021/07/NPF_
   NLEPPGV_Partnership-Report_Final2_2021.pdf#:~:text=The%20National
   %20Law%20Enforcement%20Partnership%20to%20Prevent%20Gun,devastating
   %20impact%20of%20firearms%20in%20the%20United%20States.
                                         10
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         Consolidation would also avoid the risk of three different judges reviewing

   the same evidentiary submissions and rendering separate—and potentially

   inconsistent—decisions on closely related factual evidence and causes of action. See

   Re: Shire LLC v. Watson Lab’ys, Inc., No. 12-cv-83, 2012 WL 12902495, at *2

   (D.N.J. June 20, 2012) (the “purpose of consolidation is ‘to streamline and

   economize pretrial proceedings so as to avoid duplication of effort, and to prevent

   conflicting outcomes in cases involving similar legal and factual issues.’” (quoting

   In re TMI Litig., 193 F.3d 613, 724 (3d Cir. 1999)).

         Nor will consolidation prejudice the Plaintiffs in these cases or cause undue

   delay. To the contrary, consolidation will only redound to their benefit. First, the

   cases share common parties: the New Jersey Attorney General and Superintendent

   of State Police are defendants in all three cases. ANJRPC and Blake Ellman are

   named plaintiffs in both ANJRPC and Ellman.11 Plaintiffs in ANJRPC and Ellman

   are also represented by the same counsel. Consolidation would create efficiencies

   by saving the parties from having to litigate multiple parallel cases at once. Indeed,

   challenges to assault weapons and LCM regulations in other states are often brought


   11
     Although the parties are not identical in all three cases, “[i]dentity of the parties is
   not a prerequisite. To the contrary, cases may be consolidated even where certain
   defendants are named in only one of the Complaints or where, as here, the plaintiffs
   are different but are asserting identical questions of law against the same defendant.”
   Nat’l Ass’n of Mortg. Brokers v. Bd. of Governors of Fed. Reserve Sys., 770 F. Supp.
   2d 283, 286 (D.D.C. 2011); see also In re Lucent Techs. Inc. Sec. Litig., 221 F. Supp.
   2d 472, 479, 482 (D.N.J. 2001).
                                               11
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   in a single lawsuit. See, e.g., Second Am. Compl., Nat’l Ass’n for Gun Rights, et al.

   v. Lamont, et al., No. 3:22-cv-1118 (D. Conn. Oct. 25, 2022), ECF No. 26; Compl.,

   Nat’l Ass’n for Gun Rights, et al. v. Shikada, No. 1:22-cv-404 (D. Haw. Sept. 6,

   2022), ECF No. 1; Compl., Rocky Mountain Gun Owners, et al. v. City of Boulder,

   No. 22-cv-2112 (D. Colo. Aug. 18, 2022), ECF No. 1; Compl., Rocky Mountain Gun

   Owners, et al. v. Town of Superior, et al., No. 22-cv-1685 (D. Colo. July 7, 2022),

   ECF No. 1.

         Second, all three cases are in similar procedural postures. In each case, the

   operative complaint was filed recently after the Supreme Court’s Bruen decision.

   Discovery has just begun in Cheeseman and is about to begin in ANJRPC. In

   Ellman, the State recently filed an answer to Plaintiffs’ complaint and a discovery

   schedule will soon follow. Consolidation would therefore not inconvenience the

   parties or delay adjudication of any of these cases. See Galicki v. New Jersey, No.

   14-cv-169, 2014 WL 4105441, at *4 (D.N.J. Aug. 18, 2014) (consolidating two

   cases “given that both actions are still in their relative infancy and have nearly

   identical procedural postures”).

         In sum, adjudicating these cases separately would be a waste of judicial

   resources and needlessly create a risk of inconsistent judgments. The potential for

   inefficiency and unnecessary cost that separate actions would entail overwhelmingly

   favors immediate consolidation.

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                                     CONCLUSION

         This motion for consolidation should be granted and Cheeseman and Ellman

   should be consolidated into the instant action.

                                          Respectfully submitted,

                                          MATHEW J. PLATKIN
                                          ATTORNEY GENERAL OF NEW JERSEY


                                   By:      /s/ Stuart M. Feinblatt
                                          Stuart M. Feinblatt (NJ Bar # 018781979)
                                          Assistant Attorney General

   Dated: November 18, 2022




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            EXHIBIT A



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             "
     /   .                           SENATE JUDICIARY COMMITTEE

                                              STATEMENT TO

                                              SENATE, No. 166
                                        with committee amendments


                                          STATE OF NEW JERSEY
                                         DATED: MARCH 12, 1990


                        The Senate Judiciary Committee reports favorably and with
                  committee amendments Senate Bill No. 166.
                        This bill would prohibit the manufacture, sale, or possession of
                  assault firearms and large capacity ammunition magazines except
                  under certain circumstances.
                        Pursuant to the provisions of the bill, manufacture, sale, or
                  possession of assault firearms and large capacity ammunition
                  magazines would be prohibited except for use by military or law
                  enforcement authorities; purchase and possession of an assault
                  firearm would be prohibited unless a person obtains a license, similar
                  to the current machine gun license, to purchase, possess or carry an
                  assault firearm. The license and the licensing procedure would be
                  identical to the current procedure for machine gun licenses set forth
                  in N.J.S.2C:58-5.
                        A person who possesses an assault firearm as of the day the bill
                  takes effect would have to have obtained a license or must render it
                  permanently inoperable, sell it, turn it over to the police, or dispose
                  of it in some other legal manner.
                       In addition, the bill would impose mandatory minimum prison
                  terms for the commission of certain crimes while in possession of a
                  machine gun or an assault firearm.
                       The following is a summary of the major provisions of the major
                  provisions of the bill.
                       This bill was pre-filed for introduction in the 1990 session
                  pending technical review. As reported, the bill includes the changes
                  required by technical review which has been performed.

                 DEFINITIONS:
                      "Assault firearm" means:
                      A semi-automatic rifle of a certain barrel length which was
                 originally designed to take a detachable magazine with a capacity
                 exceeding 15 rounds or a semi-automatic rifle with a fixed magazine
                 with a capacity exceeding 15 rounds;
                      A semi-automatic shotgun with magazine capacity exceeding six
                 rounds, or with pistol grip or foldmg stock;
                      A semi-automatic handgun originally designed to take a
                 magazine with a capacity exc:eedmg 17 rounds; or
                      A firearm which may be readily restored to an operable assault
                 firearm.




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                    The definition specifically includes: Avtomat Kalashnikov
              semi-automatic firearms; Uzi semi-automatic firearms; Intratec
              TEC 9 or 22 semi-automatic firearms;                    Ruger Mini-14
              semi-automatic firearms; Colt AR-15 semi-automatic firearms;
              Beretta AR-70 semi-automatic firearms; FN-FAL or FN-FNC
              semi-automatic firearms; Steyr A.U.G. semi-automatic firearms:
              Heckler and Koch HK9l, HK93, HK94 semi-automatic rifles and
              carbines; USAS 12 semi-automatic shotgun; ValInet M-76 and M-78
              semi-automatic firearms; Shotguns like "Street Sweeper" or "Striker
              12" .
                    The definition specifically excludes the following:
                       Remington Model 1100 shotgun;
                       Remington Model 870 shotgun;
                       Ruger 10/22 carbine;
                       HK Model 300 rifle;
                       Marlin Model 9 camp carbine;
                       Stevens Model 987 rifle;
                       Remington Nylon 66 autoloading rifle;
                       a firearm which does not use fixed ammunition;
                       a manually operated bolt action weapon that is not
                       a semi-automatic firearm, such as a Winchester bolt action
                       rifle;
                       a lever action weapon that is not a semi-automatic
                       firearm, such as a Marlin lever action carbine;
                       a slide action weapon that is not a semi-automatic firearm;
                       a BB gun;
                       a gas and pnuematic powered pellet gun;
                       an air rifle;
                       an assault firearm rendered permanently inoperable.
                    "Large capacity ammunition magazine" means a box, drum, tube
              or other container capable of holding more than 15 rounds of
              ammunition.

              CRIMINAL OFFENSES:
                   The bill would establish as a crime of the third degree, the
              possession of an assault firearm. Manufacturing, selling or disposing
              of an assault rifle without being registered or licensed would be a
              crime of the third degree.
                   Possession of a large capacity magazine except for military or
              law enforcement use would be a crime of the fourth degree. The
              manufacture, transport or sale of a large capacity magazine would
              also be a fourth degree crime.

              MANDATORY MINIMUM PRISON TERMS:
                 Under the bill, if a person commits a crime of the first or
              second degree with a machine gun or assault firearm, the mandatory
              minimum term of imprisonment would be ten years. For crimes of
              the third degree, the term would be 5 years and for fourth degree
              crimes, 18 months.
                  For those offenders eligible for an extended term of
              imprisonment, if the crime involved was of the first or second degree
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      '.   and a machine gun or assault firearm was used, the mandatory term
           of imprisonment would be 15 years. In cases involving crimes of the
           third degree, eight years and for crimes of the fourth degree, five
           years.

           AMENDMENTS:
                The committee adopted the following amendments:
                1. The definition of "semi-automatic rifle" was changed to
           include a requirement of a barrel length of between 16 and 22 inches.
                2. The Attorney General is required to compile a list of assault
           firearms by name within 30 days of the bill's enactment.
                3. A person who is awaiting a decision on an appeal of an
           assault license denial on the bill's effective date must tum the
           firearm over to the police. If the denial is upheld on appeal, the
           police will either render the firearm permanently inoperable and
           return it to the owner or keep it as a voluntarily surrendered firearm.
                4. The amendments delete a provision which would have allowed
           a person who intended to apply for a license to turn that fireann
           over to the law enforcement authorities.
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            EXHIBIT B


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                         OFFICE OF TH E GOVERNOR
                                         NEWS RELEASE
 CN-001                                                                TRENTON, N.J. 08625
 Contact:                                                              Release:
                               Emma Byrne                                          Wednesday
                               609/292-8956                                        May 30, 1990


                    FLORIO SIGNS NATION'S TOUGHEST ASSAULT WEAPON LAW

                     PATERSON -- Keeping a promise made during the campaign, Governor Jim
              Florio today signed a bill banning the sale and sharply restricting current possession of
              assault weapons in New Jersey, making it the toughest law in the nation.

                        Florio signed the bill during a ceremony in Paterson, the home of the late state
                   Senator Frank Graves, the bill's original sponsor.

                     "One of our most basic rights is to be safe. But when the police are outgunned
              and innocent people can be gunned down in vast numbers, all of our other rights
              become meaningless," Governor Florio said. "I promised that I would ban assault
              weapons in New Jersey and I am proud to sign this bill into law today. It's the
              toughest law in the nation. It's right. It's fair, and it will make New Jersey a better
              place."

                     Under the law, no person will be able to legally purchase an assault weapon in
              the state. Unlike a California assault weapon ban, which exempts all current owners,
              the New Jersey law severely restricts possession of any assault weapon not used for
              legitimate collecting or target-shooting purposes.

                     "This is a common sense bill -- one that recognized that hunters don't need
              Uzis to shred their prey, and law abiding citizens don't need 'street-sweepers'," Florio
              said. "The ban on military-style assault weapons was Frank Graves' last fight. He
              believed, as I do, that guns capable of wholesale destruction are a direct threat to our
              police, our citizens and especially our children."

                     Current owners have one year to either sell their weapon or render it
              inoperable by certifying that the parts necessary to fire the weapon have been
              removed from his immediate possession, making it purely a collector's piece.
              Owners also have seven months to join a chartered rifle/pistol club, but may do so
              only if their firearm was purchased as of May 1, 1990, and is included on a list
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     currently being drawn up by the Attorney General based on those weapons used in
     U.s. Army-sanctioned competitions.

            "This bill says that no one can walk off the street and purchase a gun that is
     designed to wipe out the greatest number of people in the shortest possible time,"
     Florio said. "I call that common sense. So do the majority of people in New Jersey
     and so does the State Legislature."


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